    Case 23-10763-amc            Doc 689       Filed 06/21/24 Entered 06/21/24 12:03:35            Desc Main
                                              Document      Page 1 of 1
Form PL239 (03/22)


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                   )
    Stream TV Networks, Inc.                             )              Case No. 23−10763−amc
                                                         )
                                                         )
    Technovative Media, Inc.                             )              Chapter: 11
                                                         )
     Debtor(s).                                          )              Civil Case Number.


                           Transmission of Documents to the U.S. District Court
To Clerk of Court, U.S. District Court:

     We herewith transmit the following document(s) filed in the above matter(s), together with a copy of the
docket entries:

           Certificate of appeal from order entered June 7, 2024 and dated June 6, 2024 by the Honorable Ashely M.
Chan
       Notice of appeal filing fee    paid          not paid

           Designation of Record on Appeal Filed
           Designation of Record on Appeal Not Filed

           Supplemental certificate of appeal

           Motion for leave to appeal filed
           Answer to motion filed

           Proposed findings of fact and conclusions of law entered by the Honorable Ashely M. Chan
           Report and recommendation entered by the Honorable Ashely M. Chan
           Other

       Kindly acknowledge receipt on the copy of the letter provided.


Date: June 21, 2024                                                     For The Court

                                                        Timothy B. McGrath
                                                        Clerk of Court
______________________________________________________________________________________________

Received Above material or record tile this day: ___________________
Civil Action No. _________________                          Signature: __________________
Miscellaneous No.________________                            Date: _________________
Assigned to Judge _____________________
